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 Ad?4rre     t2l09) Summons in aCivrl Action


                                    UNrrsn Srarps Drsrrucr Counr
                                                            fbr the

                                                    District of New Jersey

                        SAUL FALACK,
                                                              )
                            Plaintiff                         )
                                                              )
                                                              )       civil Acrion N".   ll '   Lvt   -       0 d.t1   1A'
                                                              )
                                                              )
                           DeJbndant                          )


                                               SUMMONS IN A CTYIL ACTION

To:   @efendant's name and address)     BANK OF AMERICA
                                        1OO NORTH TRYON STREET
                                        CHARLOTTE, NC 28255




         A lawsuit has been filed against you.

          Within 2l days after service of this srunmons on you (not counting the day you received it)     or 60 days if you
                                                                                                          -
are the United States or a United States agency, or an offrcer or employee of tfre finitea States described
                                                                                                            in Fed. R. Civ.
P . 12 (a)(2) or (3)  you must serve on the plaintiff an answer to the attached complaint or a motion under
                    -                                                                                              Rule 12   of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiffs
                                                                                                        attorney,
whose name and address are: EDWARD B. GELLER, ESe., p.C., OF COUNSEL
                                                                                 TO M. HARVEy REPHEN &
                                ASSOCIATES, P.C.
                                15 LANDING WAY
                                BRONX, NEWYORK 1O4M



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COURT


Date:
                                                                                  Signature oJ Clerk or Deputy Clerk
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AO -i40   (il*   . I 2/09) Summons rn   a   Civil Action   (Page 2)


 Civil Action No.

                                                                        PROOF OF SERVICE
                             (This section should not beftled with the court unless required by Fed                       R      Civ. P. a @)

             This summons for hame                  oJ'individual and title, if anv)

 was received b-\r me ofi @ote)


             il    I personally served the summons on the individual at                   @lace.1

                                                                                                    on   (date)                            ;or
             D     I left the summons at the individual's residence or usual place of abode wkh                          (name)

                                                                              , a person ofsuitable age and discretion who resides there,
             on    (dIte.)                                      , and mailed a copy to the individual's last known address; or

             D I served the summons on (name of individual)                                                                                        , who is
                 designated by law to accept service ofprocess on behalfof fuame oforganization)

                                                                                                    on   (date)                            ;or

             E     I refumed the summons unexecuted because                                                                                             ;or
             tr    Other gpecifu):




             My fees are $                                      for travel and $                    for services, for a total       of$          0.00


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                            Seryer's signalure



                                                                                                          Printed name and title




                                                                                                             Server's address


Additi onal        i   n   formati on regardin g attempted service, etc            :
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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

                                              -----------------x


SAUL FALACK,                                                       Civil Action No.: 17-cv-A2992


                                 Plaintiff,
               -against-                                    AMENDED COMPLAINT FOR
                                                            VIOLATIONS OF THE TELEPHONE
                                                            CONSUMER PROTECTION ACT

BANK OF AMERICA

                                 Defendant(s).                     DEMAND FOR JURY TRIAL



                         I   NTRODUCTION'PRELIMINARY STATEMENT


       Plaintiff SAUL FALACK ("Plaintiff'), by and through his attorney, M. Harvey

Rephen & Associates, P.C., by Edward B. Geller, Esq., P.C., Of Counsel, as and for his

Complaint against the Defendant BANK OF AMERICA, (hereinafter referred to as

Defendant(s)"), respectfully sets forth, complains and alleges, upon information and

belief, the following:


                         TNTRODUCTTON/PREL|MTNARY STATEMENT

       1.      Plaintiff brings this action on his own behalf for damages and declaratory

and injunctive relief arising from the Defendant's violation(s) under Title 47 of the United

States Code, 5227 commonly known as the Telephone Consumer Protection Act (TCPA).

       2.      Defendant is subject to, and required to abide by, the laws of the United

States and the State of New York, which include the Telephone Consumer Protection
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Act of 1991, 47 U.S.C. 5227, et seq. ("TCPA") and its related regulations, including 47

C.F.R. 564.1200 ("TCPA Regulations"), as well as the opinions, regulations and orders

issued by the Federal Communications Commission to implement and enforce the

TCPA, the telemarketing regulations issued by the FederalTrade Commission, 16

c.F.R. 5310.4(dX2).

                &r1i                     PARTIES

       3.     Plaintiff SAUL FALACK is a resident of the State of

      NEW JER$EY residing in LAKEWOOD,
                                 -     NJ 08701.

       4.     Defendant (s), BANK OF AMERICA has a Corporate Headquarters

       Located at 100 NORTH TRYON $TREETCHARLOTTE, NC 28255.



                              JURISDICTION AND VENUE

       5.     The Court has jurisdiction over this matter pursuant to 28 USC S1331 and

28 U.S.C. S2201. lf applicable, the Court also has pendent jurisdiction over the state law

claims in this action pursuant to 28 U.S.C. S1367(a).

       6.     Venue is proper in this judicial district pursuant to 28 U.S.C. $ 1391(bX2).

                                   FACTUAL ALLEGATIONS

       7.     Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs numbered "l " through .6" herein with the same force and effect as if the same

were set forth at length herein.

       8.     On or about December 2015, Defendant began communicating with the

Plaintiff by placing automated calls to his cell phone number of 646-269-9871.
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         L     The Defendant called from number 800-310-5587 and left pre-recorded

meissages with a "beep".

         10.    Plaintiff never provided his prior, express consent to be contacted by an

autodialer from the Defendant and asked Defendant to stop contacting him. The Plaintiff

did not give the Defendant permission to call his cell phone.

         11    Despite the Plaintiff's not giving his permission to be contacted on his cell

phone and requesting that the calls cease, the Defendant continued its campaign to call

the Plaintiffs cell phone.

         12.   The Plaintiff called the Defendant on December 15, 2015 and was
connected with a female representative named "Sarah".

         13.   The representative gave him the updated information on his account.

         14.   The Plaintiff stated that he did notwant to receive any more automated calls

on his account, and that if he was to be contacted again it should be done by mail.

         15.   The representative said she was noting the account of his request and the

callwas concluded.

         16.   Since the conclusion of the call and the request for the automated calls to

stop, the Plaintiff has received approximately 30 autodialed calls from Defendant.



         17.    By placing auto-dialed calls and pre-recorded messages to the Plaintiffs

cell phone, the Defendant violated 47 USC Section 227(b){A[iii), which prohibits using

any automated telephone dialing system or an artificial prerecorded voice to any

telephone number assigned to a cellular telephone service when calling Plaintiff's cell

phone.
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      18.      The Defendant therefore willfully violated the TCPA numerous times after

bding requested to not call the Plaintiff's cell phone.

                                FIRST CAUSE OF ACTION
                                 (Violations of the TCPA)

       19. .   Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs numbered '1" through "14" herein with the same force and effect as if the
                  )
                 -'t
same were set forth at length herein.

       20.     According to the Telephone Consumer Protection Act 47 USC
                 .lt shall be unlawfulfor any person within the United States, or any
S227(bXAXiii),

person outside the United States if the recipient is within the United States (A) to make

any call (other than a call made for emergency purposes or made with the prior consent

of the called party) using any automatic telephone dialing system or an artificial or pre-

recorded voice--- (iii) to any telephone number assigned to a paging service, cellular

telephone service, specialized mobile radio service, or other radio common carrier

service, or any service for which the called party is charged for the call, unless such call

us made solely to collect a debt owed to or guaranteed by the United States."

       21.     lt has been determined that the statute language adding "or" any service

for which the called party is charged, is not accurately interpreted to require that Plaintiff

must claim that Defendant's calls incurred charges. See Breslow c. Wells Farqo Bank.

N.A. 857 F. Supp 2d 1316, 1319 (S.D. F1a.2012) and Cavero v. Franklin Collection

 Serv., \nc.,2012WL279448 (S.D. F\a.2012). A number of Courts have addressed the

issue of a Plaintiff being charged with all agreeing that the TCPA does not require a

Plaintiff who received calls on his/her cell phone to allege that he/she was charged for

the call. For example, in Manno v.Healthcare Revenue. Fecovery Grp.. LLC,289 F.R.D.
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674 (S.D. Fla.2A13), the Court held that "The TCPA does not require the plaintiff to be
 'charged for' the calls in order to have standing to sue." ln Osorio v. State Farm Bank,

F.S.B., 746 F.3d 1242 (11th Cir. 2A14), the Court stated: lf the phrase'any service for

which the called party is charged for the call' requires that the party be charged per call

for the 'paging service, cellular telephone service, specialized mobile radio service, or

other radio comhon carrier service' in order for the party to prohibit autodialed calls,

then the listing of these services would be superfluous because they are already

 included under them 'any service for which the called party is charged.' On the other

 hand, reading 'any service for which the called party is charged for the call' as an

 additional item beyond any call to a 'paging service, cellular telephone service,

specialized mobile radio service, or other common carrier service,' regardless of

whether the called party is charged, gives independent meaning to each term."

        22.    lt is thus clear from the plain language of the TCPA, and its considerable

 body of resultant case law that the TCPA is violated when a cellular telephone is called

with an automatic dialer without consent, even if no charges are alleged or incurred,

        23.      With the autodialed calls to Plaintiffs telephone commencing on or about

 December 2415 and continuing at a rate of approximately (30) times thereafter, the

 Defendant violated various provisions of the TCPA, including but not limited to 47 USC

sz27(bxAxiii).


        24.   The Defendant, having been informed that Plaintiff requested that no

further calls be received, Defendant willfully violated the TCPA at least (30) times.
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       25.     Pursuant to the TCPA Omnibus Declaratory Ruling and Order, July 2015,

pdragraphs 138 and 139, communications from banking institutions which are exempt

"...are all intended to address exigent circumstances in which a quick, timely

communication with a consumer could prevent considerable consumer harms from

occurring or, in the case of the remediation calls, could help quickly mitigate the extent

of harm that will"occur." Pursuant to Paragraph 139, (3) and (7) "ln light of these

considerations, we adopt the following conditions for each exempted call (voice call or

text message) made by a financial institution:

3) voice calls and text messages are strictly limited to purposes discussed in paras.

 129-137 above and must not include any telemarketing, cross-marketing, solicitation,

debt collection, or advertising content;

7) a financial institution must honor opt-out requests immediately."

       26.     Defendant is in violation of the TCPA paragraphs 139 (3) for, upon

information and belief, having used their calls for debt collection and (7), failing to honor

Plaintiffs' desire to opt out of telephone communications despite Plaintiffs clear,

unequivocal and repeated requests that such automatic calls cease.

       27.     Defendant violated various provisions of the TCPA, including but nst

limited to 47 USC $227(bXAXiii).

                              DEMAND FOR TRIAL BY JURY

       28.     Plaintiff hereby respectfully requests a trial by jury for all claims and issues

in its Complaint to which it is or may be entitled to a jury trial.
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                                    PRAYER FOR RELIEF

  "   WHEREFORE, Plaintiff demands judgment from the Defendant as follows:

             A.     For trebled damages to be awarded to the Plaintiff in accordance

with the TCPA, for each of the Defendant's willful or knowing violations of the TCPA.

             B.     A declaration that the Defendant's practices violated the TCPA;

             F-1:   For any such other and further relief, as well as further costs,

expenses and disbursements of this action, as this Court may deem just and proper.

 Dated:      March 13,2017



                                  Respectfu lly submitted,




                                  EDWARD B. GELLER, ESQ.
                                  Edward B. Geller, Esq., P.C., Of Counsel to
                                  M. Harvey Rephen & Associates, P.C.
                                  15 Landing Way
                                  Bronx, New York 10464
                                  Tel:(914)473-6783

                                  Attorney for the Plaintiff
                                  SAUL FALACK




      To: BANK OF AMERICA
          1 OO NORTH TRYON STREET

           CHAROLETE, NC 28255

      (Via Prescribed Seruice)

      Clerk of the Court,
